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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA

VOICE OF THE EXPERIENCED, A CIVIL ACTION
MEMBERSHIP ORGANIZATION ON
BEHALF OF ITSELF AND ITS
MEMBERS, ET AL.

VERSUS

JAMES LEBLANC, ET AL. NO. 23-01304-BAJ-EWD

                                          ORDER

       At the June 12, 2025, Status Conference (Doc. 267), the Court clarified that the

Second Temporary Restraining Order that went into effect on May 23, 2025,


(Doc. 253), was granted under the Court's authority pursuant to 18 U.S.C. § 3626(2),


or Appendix B of the Prison Litigation Reform Act. As such, no extension is required


at this time.


       Therefore,


      IT IS OEDERED that Plaintiffs' Notice Of Motion To Extend Temporary

Restraining Order Pursuant To Federal Rule Of Civil Procedure 65(b)(2)

(Doc. 262) and Motion For Expedited Consideration Of Motion To Extend
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Temporary Restraining Order (Doc. 263), be and are hereby DENIED AS




                                                          16^
MOOT.

                            Baton Rouge, Louisiana, th\s tw_"'day of June, 2025




                                 JUDGE BRIAN ^. JACKSON
                                 UNITED STATEgsDlSTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA
